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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
KENNETH CAMPBELL, et al.,                         )
                                                  )
                Plaintiffs,                       )
                                                  )
                v.                                )   CIVIL ACTION NO. 1:99CV02979 (EGS)
                                                  )
NATIONAL RAILROAD                                 )   CLASS ACTION
PASSENGER CORPORATION,                            )
                                                  )
                Defendant.                        )
                                                  )

         JOINT MOTION REQUESTING CLARIFICATION OF COURT ORDER

       Pursuant to your Honor’s standing order, Plaintiffs Kenneth Campbell et al. and

Defendant National Railroad Passenger Corporation (“Amtrak”), respectfully move the Court for

clarification of the Court’s February 15, 2018 order scheduling a hearing on the motions pending

in this matter. In support of this motion, the parties state as follows:

       1.       On February 15, 2018, the Court sua sponte ordered a hearing on the motions

pending in this matter.

       2.       Presently pending before the Court are Plaintiffs’ Motion for Class Certification

(Dkt. 303), Amtrak’s Motion for Summary Judgment on Disparate Impact Claims (Dkt. 328),

Amtrak’s Motion for Order Excluding the Report and Testimony of Drs. Bradley and Fox (Dkt.

331), Amtrak’s Motion for Order Excluding the Report and Testimony of Jay M Finkleman (Dkt.

319), Amtrak’s Motion for Order Excluding the Report and Testimony of Thomas Roth (Dkt.

329), Amtrak’s Motion for Order Striking in Part the Declarations of Certain Named Plaintiffs

and Putative Class Members (Dkt. 330), and Amtrak’s Motion to Strike Plaintiffs’ New

Arguments and Portions of the Declarations of Timothy Fleming and Robert Childs (Dkt. 353).



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        3.       To ensure that the parties are prepared to address fully the issues most pertinent to

the Court, the parties respectfully seek to clarify whether the Court intends to hear argument on

each of the pending motions and/or whether there are particular topics on which the Court would

like for the parties to focus.

        WHEREFORE, the parties respectfully ask that the Court instruct the parties if there are

particular motions or topics on which it would like the parties to focus during the April 2, 2018

hearing.

Dated: March 14, 2018                                  Respectfully submitted,

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